Case 1:22-cv-20699-RKA Document 12 Entered on FLSD Docket 04/04/2022 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      HON. ROY K. ALTMAN

                  ORDER SCHEDULING VIDEO STATUS CONFERENCES

         A status conference session has been scheduled to consider various matters before the Court.

  The Plaintiffs’ Complaints allege violations of one of the following: the Americans with Disabilities

  Act (“ADA”), 42 U.S.C. § 12181, et seq; the Fair Credit Reporting Act (the “FCRA”), 15 U.S.C. § 1681,

  et seq.; the Fair Debt Collection Practices Act (the “FDCPA”), 15 U.S.C. §§ 1692–1692p, et seq; the

  Fair Labor Standards Act (the “FLSA”), 29 U.S.C. § 203; the Fair Housing Act (the “FHA”), 42 U.S.C.

  § 3601, et seq; or the Telephone Consumer Protection Act (the “TCPA”), 47 U.S.C. § 227. Consistent

  with the Court’s practices in these cases, counsel shall appear at a status conference on Wednesday,

  April 6th, 2022 at 10:30 a.m. Matters scheduled for consideration at this session are listed below with

  corresponding times.

         Counsel may attend either in person or by Zoom. Those attending in person shall appear at

  the Wilkie D. Ferguson Jr. U.S. Courthouse: 400 North Miami Avenue Courtroom 12-4 Miami,

  Florida 33128. The Zoom information is as follows: The Meeting ID is 161 2752 2255. The Passcode

  is 7777. The videoconference is also available at zoom.us, by clicking the link “join a meeting” and

  entering the above Meeting ID and Passcode. Accordingly, the Court hereby ORDERS as follows:

            1.   The Clerk is DIRECTED to file this Order in each of the below cases.

            2.   The parties are not personally required to appear, but a representative of each party

                 with full authority to enter a full compromise must appear.

            3.   If an agreement is reached, the parties shall promptly notify the Court.

            4.   The Plaintiff’s counsel must appear with the entire case file. If any of the Defendants

                 have not yet appeared, the Plaintiff must serve a copy of this Order on any such

                 Defendant within two business days of the date of this Order.
Case 1:22-cv-20699-RKA Document 12 Entered on FLSD Docket 04/04/2022 Page 2 of 3



         5.    Counsel are ORDERED to confer with opposing counsel beforehand to confirm

               mutual attendance.

         6.    The cases will be called according to the following schedule:

              a. 22-cv-20692 – Liens Carracedo v. TK Promotions, Inc. et al

              b. 22-cv-60643 – Cook v. Good Air Inc

              c. 22-cv-60291 – Gonzalez v. Grandma Inc et al

              d. 22-cv-20745 – Garcia-Hernandez v. Atlas Piles, LLC et al

              e. 22-cv-60296 – West v. Waste Pro of Florida, Inc

              f. 22-cv-20699 – Cabrera v. Pedrail Systems, LLC et al

              g. 22-cv-20139 – Briceno et al v. Cuprys and Associates Attorneys at Law Corp. et al.

              h. 22-cv-60358 – Perez v. 245 Pilot Services Company

              i.   22-cv-20285 – Caplan v. C4S LLC et al

              j.   22-cv-60646 – Caplan v. Ruff Enterprise LLC et al

              k. 21-cv-24298 – Pinero v. Rey Bermudez Revocable Trust, et al.

              l.   22-cv-20529 – Lucius v. Vida Y Estilo Corp.

              m. 22-cv-20769 – Gonzalez v. El Prado Corp. et al

              n. 22-cv-20782 – Cuadrado v. Equifax Information Services, LLC et al

              o. 22-cv-60001 – Balva v. Equifax Information Services, LLC et al

              p. 21-cv-62360 – Smith et al v. Equifax Inc, et al

              q. 21-cv-62551 – Williams v. Experian Information Services, Inc. et al

              r. 22-cv-60453 – Dabady v. Linebarger Goggan Blair & Sampson LLP

              s. 22-cv-20126 – Cohen v. Radius Global Solutions

              t. 22-cv-60295 – Tauber v. Humana Medical Plan Inc

              u. 22-cv-60202 – Chambers, Jr. v. Management Jax, LLC
Case 1:22-cv-20699-RKA Document 12 Entered on FLSD Docket 04/04/2022 Page 3 of 3



              v. 22-cv-60098 – Crew v. Whitehall Condominiums of Pine Island Ridge II, Association, Inc. et

                  al.

        DONE AND ORDERED in Miami, Florida, this 4th day of April 2022.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
